                          UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


STATE OF NEW YORK, et al.,

       Plaintiffs,
                                            Case No. 1:25-CV-11221
v.
                                            LEAVE TO FILE GRANTED ON:
                                            May 21, 2025
DONALD TRUMP, in his official capacity as
President of the United States, et al.

       Defendants.




     BRIEF OF AMICUS CURIAE SAVE LONG BEACH ISLAND, INC. IN SUPPORT OF
        DEFENDANTS’ OPPOSITION TO THE MOTIONS FOR A PRELIMINARY
                               INJUNCTION
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                       RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel of record for

Amicus Curiae Save Long Beach Island, Inc., certifies that the Amicus (private, not-for-profit,

non-governmental organizations) does not have a corporate parent, subsidiary, or affiliate, and that

it does not issue stock to the public.
                   INTRODUCTION AND INTERESTS OF AMICUS CURIAE

       Save Long Beach Island, Inc.1 is a 501(c)(3)non-profit corporation, of over 10,000

supporters, organized under the laws of New Jersey, and created to guard human and natural

resources. These resources include, for example: marine mammals, fish, and other species that

inhabit, use, or migrate off the New Jersey and New York coasts; the aesthetic elements of Long

Beach Island and the New York Bight; economic interests strongly tied to the maintenance of the

environmental features comprising Long Beach Island and the New York Bight, inter alia. These

resources, in particular, the marine mammals off the NJ and NY coasts, are being harmed (and will

continue to be harmed), harassed, and killed, in large part by the activities authorized by NMFS

and BOEM in the waters of the NJ/NY Bight. These marine mammals, not only are exceptionally

important to the oceanic ecosystems, but they also impart carbon dioxide mitigatory effects. Save

Long Beach Island, Inc. (hereinafter, “Save LBI”) supporters have a legally protected interest in

preserving the marine mammals, some of which, like the North Atlantic Right Whale, are critically

endangered species.

       The purpose of Save LBI’s desired amicus curiae intervention is manifold. The primary

purpose is to continue to protect the sacrosanct marine ecosystem of the East Coast, especially the

NY Bight, the migratory corridor of the North Atlantic Right Whale (already in danger and will be

further imperiled if the Wind Directive is reversed), the lives of marine mammals, some of which

are designated as depleted (Northern Migratory Coastal Bottlenose Dolphin) and endangered

(North Atlantic Right Whale), and the concomitant interests of the Save LBI membership which




1
 Amicus affirms that no counsel for a party authored this brief in whole or in part, and no person
other than Amici or their counsel made any monetary contributions intended to fund the
preparation or submission of the brief. Fed. R. App. P. 29(a)(4)(E).
                                                1
will be inimically impacted if the Wind Directive were abrogated. In this brief, Save LBI endeavors

to edify the Court regarding the scientific reality attendant the safety and efficacy of offshore wind,

dispelling erroneous notions that offshore wind will substantially mitigate climate change (it will

not) and does not devastate marine mammals (it does).

       Finally, Save LBI wishes to further elucidate critical legal errors that State Plaintiffs make

in their Complaint and Motion for Preliminary Injunction. At the threshold level, State Plaintiffs

cannot demonstrate that final agency action has occurred, and as such, judicial review under the

Administrative Procedures Act is inappropriate. In turn, no legally cognizable reliance interests

flow from interim implementation steps which do not constitute final determinations on permits

or approvals. Moreover, the President maintains ostensible authority under the Take Care Clause

in Article II of the Constitution to direct inter-agency reviews of permitting programs, and there

have been no clear statutory temporal deadlines contravened via the “Wind Directive.”2 Even if

there were final agency actions by Defendant agencies (there have not been), the Wind Directive

remains legally sound. Not only is it an entirely valid exercise of Presidential authority, no statutes

have been violated, and the agencies are acting rationally in response to new legal, ecological,

environmental, and economic concerns, as set forth by the Wind Directive.

       Therefore, this Court should deny the Plaintiffs’ requests for injunctive relief. The States’

Complaint is predicated upon spurious legal arguments and their assertions of environmental safety

and efficacy of offshore wind are entirely uncorroborated by multi-disciplinary evidence.




2
 https://www.whitehouse.gov/presidential-actions/2025/01/temporary-withdrawal-of-all-areas-
on-the-outer-continental-shelf-from-offshore-wind-leasing-and-review-of-the-federal-
governments-leasing-and-permitting-practices-for-wind-projects/
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                                                ARGUMENT

          I.      States’ Spuriously Assert that Final Agency Action Occurred, and as such,

                          their Putative Reliance Interests are not Legally Cognizable

                                A. There has been no Final Agency Action

        It appears that a primary fundament of most of the States’ arguments is that the Federal

Agencies have purportedly adopted and implemented the Wind Directive such that final agency

action has occurred. However, for an action to be final, it must mark the consummation of an

agency’s decision-making process, to wit, it cannot merely be tentative or interlocutory. Bennett

v. Spear, 520 U.S. 154, 178 (1997) (citing Chicago & Southern Air Lines, Inc. v. Waterman S. S.

Corp., 333 U.S. 103, 113 (1948).

        The facts underpinning the case at bar are much more concordant with Franklin v.

Massachusetts,3 505 U.S. 788 (1992) and Dalton v. Specter, 511 U.S. 462 (1994) than Bennet. As

emphasized by the Supreme Court in Frankin, “[a]n agency action is not final if it is only the ruling

of a subordinate official, or tentative. The core question is whether the agency has completed

its decisionmaking process, and whether the result of that process is one that will directly affect

the parties [emphasis added].” The issue in Franklin was a Secretary of Commerce report to the

President which served “more like a tentative recommendation than a final and binding

determination.” Franklin, 505 U.S. at 798.

        Notwithstanding the fact that tentative or interlocutory steps can mediate substantial

financial burden or other costs on individuals/entities, that in and of itself is insufficient for “final



3
  The Court held that the President was not an "agency" under the APA and was not subject to
review under it for abuse of discretion.
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agency action.” As expounded upon by the Supreme Court in FTC v. Standard Oil Co. of

California, 449 U.S. 232 (1980), FTC's complaint issued to respondent oil company for violating

the Federal Trade Commission Act was not a final agency action under the APA, even if it

generated significant litigation expense. “As we recently reiterated: ‘Mere litigation expense, even

substantial and unrecoupable cost, does not constitute irreparable injury.’’’ Id. at 244

(quoting Renegotiation Board v. Bannercraft Clothing Co., 415 U.S. 1, 24 (1974)).

       While the States fulminate about reliance interests, all of the States’ allegations delineated

in paragraphs 142-158 of their Complaint as evidence of putative “final agency action,” in fact,

exemplify the types of “tentative” or “interlocutory” actions described in the aforesaid cases. The

States do not provide evidence of final agency action, rather, the Complaint discusses various

implementation steps and temporary pauses, but intriguingly, no final determinations as to specific

offshore wind related permits. Indeed, even in the Environmental Appeals Board matter regarding

the Clean Air Act permit for Atlantic Shores, of which Save LBI was the Petitioner, final agency

action has not occurred. The Environmental Appeals Board granted EPA’s voluntary remand,

placing the Atlantic Shores’ air permit back into a posture of review, but importantly, that permit

has not been finally denied or granted.

       The States’ Complaint is bereft of any evidence evincive of final resolutions of permits or

applications. Finally, even if final agency actions had occurred (they have not), the Plaintiffs seem

to ignore the statutory and regulatory reality that BOEM maintains the authority to both suspend

and/or cancel actively leased areas. See 30 CFR 585.4174 (suspension criteria) and 30 CFR




4
 https://www.ecfr.gov/current/title-30/chapter-V/subchapter-B/part-585/subpart-E/subject-
group-ECFRc167401b87a84b9/section-585.417

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585.4225 (cancellation criteria). So notwithstanding alleged reliance interests, and even if there

were final agency actions, BOEM has the independent authority to abrogate fully federally

approved lease areas. Such authority can and should be employed given the environmental review

analyses for Northeast offshore wind projects have been replete with substantial analytic

deficiencies on innumerable fronts.

                   B. States’ Putative Reliance Interests are not Legally Cognizable

        The States assert substantial reliance interests in connection with offshore wind. But such

putative interests are of no moment in a known, evolving, regulatory context. As the Court in

Soundboard Ass’n v. FTC, 888 F.3d 126, 1272 (D.C. Cir. 2018) enunciated, “the fact that an

opinion of someone at an agency could potentially impact a regulated entity says nothing about

whether that opinion is the culmination of the agency's decisionmaking . . . In addition, we do not

believe finality can be measured by what the industry claims it will do or stop doing.” In that case,

the Court determined there was no final agency action, notwithstanding reliance interests by the

Plaintiffs. “In any event, under FTC regulations, the 2009 Letter is not and could not be a basis for

legally cognizable reliance interests . . . ” Id. at 1273.

        Therefore, while States are concerned about a prospective impact of the Wind Directive,

as it stands, no final agency action has occurred, and no legally cognizable reliance interests can

flow therefrom.




5
 https://www.ecfr.gov/current/title-30/chapter-V/subchapter-B/part-585/subpart-E/subject-
group-ECFRf40425fc8d1bfaa/section-585.422

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          II.     The President Maintains Supervisory Authority to Direct Agency Permit

                                                      Reviews

           A. Article II Take Care Clause Confers the Wind Directive’s Authority and no

                                Environmental Statutes have been Contravened

       The States’ contention that the Wind Directive is ultra vires or violative of environmental

statutes appears to entirely ignore the President’s supervisory authority under Article II of the

Constitution, namely the “Take Care” Clause (shall take care that laws be faithfully executed). The

President possesses the authority to direct agency officials to undertake reviews and otherwise

request pauses of permitting, absent statutory violations. The statutes cited by the States do not

impose strict time deadlines.

       For example, the States adduce MMPA implementing regulation 50 C.F.R. § 13.11 “as

quickly as possible” phraseology, but fail to contextualize as that same regulation provides,

“However, we cannot guarantee final action within the time limit you request . . . Our processing

time may be increased by . . . time required for extensive consultation within the Service, with

other Federal agencies, and/or State or foreign governments [emphasis added].”

       OCSLA does not contain a hard deadline, and the Clean Water Act (“CWA”) 90-day

reference is aspirational, not mandatory (see, “to the maximum extent possible”). 33 U.S.C. §

1344(q). The States cite 40 C.F.R. § 124.3(c) in attempt to support their CWA proposition, but that

provision only relates to completeness of applications, not a stipulation to render a final permit

decision within a certain time-frame. In the Rivers and Harbors Act, 33 CFR § 325.2(d)(3)(ii)

explicitly supports the notion of a permit timeline pause, “District engineers will decide on all

applications not later than 60 days after receipt of a complete application . . . unless the case must


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be referred to higher authority.” Moreover, regarding the Clean Air Act, as Save LBI explicated in

its opposition to Atlantic Shores’ Motion for Reconsideration in the Environmental Appeals Board

Matter, Murray Energy Corp. v. Env’t Prot. Agency, 936 F.3d 597, 626 (6th Cir. 2019), underscored

that the Clean Air Act “does not require that a permit be ‘issued’ within one year.” And “nothing

in the CAA provides for issuance of a PSD permit as a matter of right.” Am. Corn Growers Ass’n

v. Env’t Prot. Agency, 291 F.3d 1, 12 (D.C. Cir. 2002). The Environmental Appeals Board was

unpersuaded by Atlantic Shores’ arguments and ultimately remanded their air permit to EPA. Nor

is NEPA violated by the Wind Directive; and indeed, NEPA itself imposes a continuing duty to

reassess projects as new environmental information arises. Marsh v. Oregon Natural Resources

Council, 490 U.S. 360, 373-74 (1989). In the remainder of the States’ allegations, they were not

(and cannot) adduce any single instance of the Wind Directive violating an environmental statute,

a Directive which is entirely supported by the President’s supervisory authority under the Article

II Take Care Clause.

        III. Offshore Wind is Ineffective in Climate Change Mitigatory Efforts and Unsafe

                                for Marine Mammal Ecosystems

                 A. Offshore Winds’ Efficacy in Greenhouse Gas Reduction is Dubious

       In their Motion for Preliminary Injunction (p. 37-38), Plaintiff States aver, “the Wind

Directive’s indefinite halt on wind energy projects also will irreparably harm the States’ ability to

achieve their statutory obligations to reduce greenhouse gas emissions, procure clean energy, and

meet specific statutory targets for wind energy.” This is predicated upon a spurious premise,

namely that meaningful greenhouse gas reductions will eventuate from employment of offshore

wind projects. The available empirical and modelling data belie the States’ conclusory assertions.



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         A capacity factor is the ratio between actual energy produced and the hypothetical

maximum energy possible. It’s a key metric in assessing emission displacement potential.

Research demonstrates that a minimum capacity factor of 33% is necessary for wind power to

induce any net reduction in CO₂ emissions when displacing combined cycle natural gas (CCGT).

An Arizona State University study explained, “if wind power is displacing combined cycle natural

gas the capacity factor has to be greater than 33% for a net reduction in CO2 emissions.”6 This is

partially due to the inefficient ramping and cycling of gas plants required to compensate for wind

variability. Combined cycle natural gas (CCGT) is currently the primary source of electricity

generation in the United States, both in terms of total generation and dominance among fossil fuel

sources.

         Empirical data from numerous existing offshore wind projects generally suggests that

capacity factors are insufficient to engender any significant greenhouse gas reduction. For

example, the average capacity factor for 36 wind farms in/near United Kingdom was stated to be

37%,7 but notably the study found that capacity factors for offshore wind decrease much more

celeritously than onshore wind projects. “Hughes [6] found that the capacity factor of Danish

offshore wind farms decreased from 39% to 15% during 10 years of operation, from 2002 to 2012.

This indicates that the deterioration in capacity factor tends to be more rapid in offshore wind




6
    https://www.degruyterbrill.com/document/doi/10.7569/jsee.2017.629514/html
7
 https://docs.wind-watch.org/Wind%20Energy%20-%202024%20-%20Lorentzen%20-
%20Immature%20Offshore%20Wind%20Technology%20UK%20Life%20Cycle%20Capacity%
20Factor%20Analysis.pdf
                                                8
farms.”8 Given a linear rate of decline, that implies that the Danish offshore wind farms’ capacity

factor was already below the aforesaid 33% between year 2 and year 3 of operation.

       Moreover, Stateside, modelling simulations strongly corroborate the notion that

observational capacity factors will be quite significantly lower than offshore wind manufacturers’

aggressive projections. Based upon a best-case theoretical estimate, the AWS Truewind model

estimates a 27% capacity factor for New England (onshore wind) and 35% for New England

(offshore wind). “Based on the AWS Truewind model, the theoretical average capacity factor is

27% for onshore New England and 35% for offshore.”9 Given offshore New England contains

some of the strongest average annual wind speeds on the East Coast of the USA,10 the estimate of

35% for offshore New England would indubitably be even lower for locations south of New

England in latitude.

       As such, it is entirely unreasonable to dogmatically assert that offshore wind along the East

Coast of the U.S. will induce meaningful reductions in greenhouse gas emissions; in fact, it is

controvertible whether any such reductions will result. Both empirical and modelling data suggest

the evidence is borderline that offshore wind will even exceed the break-even point of 33%. At

capacity factors below 33%, negative net GHG emission reductions can result (i.e., more emissions

than would have otherwise occurred without offshore wind), especially when accounting for the


8
 https://docs.wind-watch.org/Wind%20Energy%20-%202024%20-%20Lorentzen%20-
%20Immature%20Offshore%20Wind%20Technology%20UK%20Life%20Cycle%20Capacity%
20Factor%20Analysis.pdf
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  https://www.iso-
ne.com/committees/comm_wkgrps/othr/sas/mtrls/may212007/levitan_wind_study.pdf?utm_sour
ce=chatgpt.com
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   https://www.energy.gov/eere/wind/articles/united-states-land-based-and-offshore-annual-
average-wind-speed-100-meters

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inefficiencies introduced by the intermittent nature of wind power and the resultant cycling of

backup fossil fuel plants. Indeed, even Vineyard Wind concedes that there will be no climate

mitigation impact, “Overall, it is anticipated that there would be no collective impact on global

warming as a result of offshore wind projects, including the Proposed Action alone . . .”11


       Similarly, these projects have virtually no effect on sea level rise. Save LBI, in its

November 14, 2024 Report titled Climate Change & Sea level Rise Effects from the Atlantic

Shores South Offshore Wind Project, shows - based on data from International Panel on Climate

Change (IPCC) Reports - that the Atlantic Shores project will not reduce or stop sea level rise at

all; it only delays whatever sea level rise is coming by about 9 days. That is because sea level rise

occurs from heat transfer from the land to the oceans and ice caps, which is in turn depends on

temperature differences and elapsed time. So modest land temperature reductions with increased

time results in the same heat transfer and sea level rise.

       This estimate is confirmed by another study titled Estimation of Climate Change Damage

Functions for 140 Regions in the GTAP9 Database by Roberto Roson and Martina Sartori

Development Economics, Development Prospects Group of June, 2016.12 The formula shows the

same effect from the IPCC data, that when the change in global temperature decreases but the time

period increases proportionately, you get the same sea level rise. So, the only effect now of



11
   Appendix A - Vineyard Wind 1 Offshore Wind Energy Project Final Environmental Impact
Statement Volume II (Mar. 2021),
https://tethys.pnnl.gov/sites/default/files/publications/Vineyard-Wind-1-FEIS-Volume-2.pdf,
page 66.
12
   Their formula for sea level rise (SLR) is: SLR= [(α+βΔt) (T −2000)], where Δt is the change in
average global temperature with respect to the baseline [1985-2005], and T is the year period. A
panel estimation of the equation gives a value for the α coefficient of 0.000954281, and a
corresponding value for β is 0.003421296.


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greenhouse gas reductions is to delay, but not to stop or reduce sea level rise. Their formula, using

a value of 3.3 degrees centigrade for the expected change in global land temperature by 2100,

shows a delay of 2 days in sea level rise from the Atlantic Shores project, consistent with the Save

LBI/IPCC estimate of 9 days.

       Finally, there is no basis presented in the final Environmental Impact Statements or

elsewhere for these projects to even assume that greenhouse gas emissions on a regional scale will

be reduced at all. This is in fact, contradicted by the consultant, Levitan & Associates Inc., engaged

by a number of states to do these types of analyses. In its report to the Maryland Public Service

Commission of March 17, 2017 titled, “Evaluation and comparison of US wind and Skip Jack

proposed offshore wind project applications,” regarding the “regional” state –interconnected PJM

transmission grid, and the US wind project, Levitan states on page 92 that: “The market response

that will displace 372 megawatts of planned onshore wind resources in western and central PJM

will cause carbon emissions to increase in western and central PJM due to increased coal

generation. Since coal generation is more than twice as carbon intensive as gas fired generation,

the decrease in gas fired emissions in MMAC region is outweighed by the increase in coal

emissions in western PJM, and overall emissions in PJM would increase due to the US Wind

project.”

       Since the Atlantic Shores offshore wind project is also offsetting gas-fired generation in

New Jersey and is part of the same PJM regional network, a similar situation exists for that and

other projects. Therefore, it is anticipated that regional greenhouse gas emissions would increase

and not decrease, contrary to the unsupported statements in the final EISs.




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       B. Environmental Harms of Offshore Wind are Substantial, Particularly on Marine

           Mammal Ecosystems

       The Wind Directive raises genuine, veridical concerns about the deleterious impact of

offshore wind on the environment and marine mammal ecosystems. Save LBI has been vigorously

engaged in litigation efforts over the past two years to defend these voiceless creatures which have

suffered (and will suffer) profound harm, attributable in substantial part to the environmentally

improvident progression toward offshore wind development.

       Apostolos Gerasoulis, Ph.D. has produced research findings which offer highly compelling

statistical evidence demonstrating that offshore wind activity as the primary cause of the rapid

increase in whale mortalities. As one can see depicted in the below Table 1, there was an 11.8-fold

statistically significant increase in humpback whale mortality rates in the “Central Region” (see

map below) during 2023 which precisely harmonizes with a tripling of offshore wind survey vessel

traffic from an annual average of 58,895 vessel miles (2015-2022) to 171,440 vessel miles in 2023.

Note that general shipping traffic exhibited only a marginal increase – from 1,800,359 to 1,973,891

vessel miles per year (less than 10%), clearly insufficient to induce the sharp increase in

mortalities.




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       To further enforce this causal relationship, the “North region” (see map below) serves as a

useful control due to the absence of offshore wind survey vessel traffic. There (North Region),

note that there was no increase in humpback whale mortalities, notwithstanding the fact that

significant general vessel traffic was present – 383,548 vessel miles per year. These findings

directly belie the assertion that increase whale mortality is ascribed to general vessel strikes.

Rather, offshore wind surveying and concomitant activities are the primary etiologic factor in the

mortality uptick.




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         There were 97 humpback whale carcasses recovered along the “Central Region” (NY/NJ)

2016-2024; the likely total is at least 485 due to carcass recovery rates of near 20%. 388 of those

circa 485 are likely attributable to offshore wind activities. As another clear pictorial depiction of

the far greater offshore wind activity in the “Central Region” see the below image (c/o Apostolos

Gerasoulis, Ph.D):




         Offshore wind activity and whale mortalities have been strongly correlated as a function

time during the 2016-2024 period, as depicted in the below graph (c/o Apostolos Gerasoulis,

Ph.D):




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       These statistical data are strongly corroborated by biological and empirical data globally,

evincing robust spatiotemporal correlations between marine mammal strandings and high-

intensity noise events. Indeed, there have been innumerable such events globally over the years

utilizing noise devices which highly approximate the devices employed in offshore wind activities

in the NY/NJ Bight and elsewhere. Here’s a small selection. This list includes but is certainly not

limited to:


   •   National Oceanic & Atmospheric Administration. "Navy Sonar Exercises May Have

       Played Role in Stranding of Melon-headed Whales in Hawaii." Science Daily. Science

       Daily, 28 April 2006. www.sciencedaily.com/releases/2006/04/060428094046.htm




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     •   The near mass stranding of about 200 whales in Hawaii on the heels of a naval sonar

         exercise this week is drawing new attention to the growing evidence that sonar activity has

         been linked to many more deadly stranding, https://www.nbcnews.com/id/wbna5397896.

     •   What Caused the Largest Known Mass Stranding of Stejneger’s Beaked Whales? March

         19, 2021, New scientific article is the first comprehensive paper on this elusive, deep diving

         species,    Stejneger’s      beaked      whale.     https://www.fisheries.noaa.gov/feature-

         story/whatcaused-largest-known-mass-stranding-stejnegers-beaked-whales.

     •   Cárdenas-Henao, H., & Reyes, J. C. (2015). Stranding of sei whales (Balaenoptera

         borealis) in southern Chile: An evidence of mass mortality due to harmful exposure. Marine

         pollution bulletin, 91(1), 278-287.

     •   Lacerda, M. V., Santos, M. C. O., & Souto, A. S. (2021). Strandings of marine mammals

         associated with seismic surveys in Brazil. Aquatic Mammals, 47(2), 183-191.

     •   Stone, C. J., &amp; Tasker, M. L. (2012). Potential effects of seismic surveys on cetaceans

         in UK waters. Journal of the Marine Biological Association of the United Kingdom,

         92(8),1825-1836.

         http://www.smru.standrews.ac.uk/files/2015/10/MR1_and_MR2_update_VF1.pdf

         Indeed, throughout Save LBI’s litigation efforts, Dr. Robert Stern13 has convincingly

demonstrated, inter alia, that the sparker noise devices employed in offshore wind activities

closely approximate the effects of many of the stranding events cited hereinabove, that the

authorized marine mammal takes via offshore wind are significantly underestimated due to use of


13
  He holds a Doctorate degree in Applied Mathematics and Aeronautical Engineering from the
New York University Courant Institute of Mathematics and Engineering School respectively. He
previously managed the Office of Environmental Compliance in the United States Department of
Energy that was responsible for the review of all of that Department's environmental impact
assessments and statements.
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inappropriate, scientifically unsound auditory weighting functions, understated noise source levels

at the turbine site, overstated noise transmission loss as the noise propagates, and overstated

disturbance noise level criteria, which, when all are combined in the calculation, results in a

significant underestimate in the spatial extent of the elevated propagating noise and its impact on

marine mammals.

       With respect to the Atlantic Shores South Project authorized east of NJ, National Marine

Fisheries Service’s estimate of “0” Level A takes for the critically endangered North Atlantic Right

Whale is far underestimated, and Dr. Stern estimates that with proper scientific assumptions, the

number of Level A North Atlantic Right Whale Takes from permitted pile driving construction in

December could be as high as 9 to 18, depending on the extent of night pile driving, or two orders

of magnitude greater than that shown in the BiOp, clearly exceeding the right whale’s biological

removal rate and jeopardizing its continuing existence. If it is interested, Save LBI encourages the

Court to view the extensive evidence for Save LBI’s conclusions in its other litigations (such

evidence is too protracted to fully perlustrate herein). However, below are key extracts from Dr.

Stern’s compelling executive summary on the impact of the proposed offshore wind projects in the

NY Bight (in operational phase) on the North Atlantic Right Whale, which demonstrates that the

offshore wind projects in the NY Bight will effectively block its migration, thereby threatening its

continued survival.




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       It is an irrefragable fact that the National Marine Fisheries Service itself concedes the

inimical impact of offshore wind activities on marine mammals, otherwise, they would not

authorize “incidental take authorizations.” In the latest legal action recently filed by Save LBI, Dr.

Stern, Save the East Coast, Protect Our Coast – LINY, and Miss Belmar, Plaintiffs show that the

National Marine Fisheries Service sanctioned the annual Level B harassment taking of nearly one-

third of the Northern Migratory Coastal Bottlenose Dolphin and nearly two-thirds of same over

the 5-year project period.

       In sum, there exists compelling, multi-disciplinary evidence that offshore wind has been,

is, and will deleteriously impacting marine mammals; assertions to the contrary simply are not

objectively examining the available evidence.

                                              CONCLUSION

       For the foregoing reasons, Save Long Beach Island, Inc. respectfully urges the Court to

deny the requests for a preliminary injunction. Plaintiffs have failed to demonstrate final agency

action, any clear violation of statutory authority, or that the Wind Directive is legally infirm. They

have failed to demonstrate any substantive purpose and need for these projects in the

environmental impact statements or elsewhere. Moreover, the record demonstrates that offshore

wind projects raise serious, unresolved environmental concerns which warrant the interagency

review initiated by the Executive Branch.




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By: /s/ Thomas Stavola Jr. Esq.                          Dated: 5/21/2025
Thomas Stavola Jr. Esq.
MA BBO # 716408
Law Office of Thomas Stavola Jr. LLC
209 County Road 537
Colts Neck, NJ 07722
Email: tstavolajr@stavolalaw.com
Phone: 732-539-7244
Counsel for Amicus Curiae Save Long Beach Island, Inc.




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                                     CERTIFICATE OF SERVICE

        I, Thomas Stavola Jr. Esq., certify that this document was filed through the CM/ECF

system on May 21, 2025, and will be sent electronically to the registered participants as identified

in the Notice of Electronic Filing (NEF).

                                                                        /s/ Thomas Stavola Jr. Esq.
                                                                            Thomas Stavola Jr. Esq.




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